 Case 18-08399      Doc 34     Filed 07/19/19 Entered 07/19/19 12:30:16         Desc Main
                                 Document     Page 1 of 1




                 IN THE UNITED STATES BANKRUPTCY COURT
          FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

       In Re:                                     )   Case No.:    18-08399
       Leonidas G Fronimos                        )
                                                  )   Chapter 13
                                                  )
                             Debtor(s)            )   Judge:   Carol A. Doyle
                                                  )



            NOTICE OF CONVERSION FROM CHAPTER 13 TO CHAPTER 7

NOW COMES, the above named Debtor, by and through his attorneys, Cutler and Associates,
Ltd., and hereby notifies the Court that pursuant to 11 U.S.C §1307(a) and Bankruptcy Rule
1017(d), this Chapter 13 case is hereby converted to a Chapter 7 case, and the Chapter 13
Standing Trustee may file his/her Final Report.




                                          RESPECTFULLY SUBMITTED,

                                          /s/ David H. Cutler
                                          David H. Cutler, esq
                                          Attorney for Debtor(s)
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